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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
UNITED STATES OF AMERICA :
Vv. * Criminal No. RWT 04-0235
LAVON DOBIE, a/k/a Becky Parker,

a/k/a Theresa Waller, *

a/k/a Dobie Parker,
ae

* OK eK OK

ORDER

The Defendant, Lavon Dobie, has filed a pro se motion seeking a sentence reduction under
18 U.S.C. §3582(c)(2) based on Amendment No. 706 to the United States Sentencing Guidelines
related to cocaine base (“crack”) offenses (Paper No. 1176), and the Government has moved to
dismiss her motion (Paper No. 1178). After reviewing the information provided by the United States
Probation Office, and the Government’s motion, this Court agrees that this Court lacks jurisdiction
because of the Defendant’s pending appeal and that, in any event, the Defendant is ineligible for a
sentence reduction under Amendment No. 706.

Accordingly, itis this Shay of April, 2008, hereby Ordered by the United States District
Court for the District of Maryland that:

1. The Motion for Reduction of Sentence (Paper No. 1176) IS DENIED;

2. The Government’s Motion to Dismiss (Paper No. 1178) IS GRANTED;

a This Order shall become final in 30 days if no objection is filed by the Defendant
within that time; and

4. The Clerk SHALL SEND a copy of this Order to counsel, the United States
Probation Office, and the Defendant.

— JER W. TITUS
UNITED STATES DISTRICT JUDGE

